              Case 2:20-cv-00335-CJB-DPC Document 29 Filed 08/21/20 Page 1 of 8



                                                                          U.S. DISTRICT COURT
                                                                     EASTERN DISTRICT OF LOUISIANA



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              Case 2:20-cv-00335-CJB-DPC Document 29 Filed 08/21/20 Page 5 of 8                                                                           1z4 I U4
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  3466                  John S. Maas                                                                                                6/30/1      1
                                                           TOTAL

 Traininq                     21.00          8.00                  168.00           Gross                                     168.00                           336.(
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